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                                                                                           Page 1 ofl
                               r
    Edward Mac Mahon


    From:      "Alan Yamamoto" <yamamoIo.law@verizon.net>
    To:        "Ed MacMahon" <ebmjr@verizon.net>; "Ali Al-Timimi" <aaltimim@hotmail.com>
    Sent:      Tuesday. July 12, 2005 3:30 PM
    Subject:   Fw: Hasan Phone Records


       Original Message
From: <Gordon.Kromberg@usdoj.gov>
To: <vnmamoto.lavv7/;verizon.nel>
Sent: Monday. July l I, 2005 2:51 PM
Subject: RE: Hasan Phone Records


> Alan,
>

> Wc do not have any of Hasan's phone records for September 2001.

> I do not believe that 1 or anyone else told Ed during the trial that he
> was given all of the phone records that the government had. I provided
> the Kwon records and the Timimi records.
>


> Gordon
>

>       Original Message
>From: yamamoto.!aw@veri7.on.net [mailto:yamamoto.law(«)vcrizon.net]
•> Sent: Friday. July 08. 2005 10:22 AM
=• To: Kromberg. Gordon
> Subject: Hasan Phone Records
>

>

> Gordon,
>

> 1 am checking to sec whether the government lias any of 1lasan's phone
 • records lor September 2001. Ed thinks that he was told during the trial
> that wc were given all the phone records that the government had. Thanks.
>


> Alan




                                                                                           7/12/2005
